                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK




 DARKPULSE, INC.,                               Index No.: 1:22-cv-00045-LGS

                          Plaintiff,
              v.

 EMA FINANCIAL, LLC, EMA GROUP,
 LLC, and FELICIA PRESTON,

                          Defendants.




                    PLAINTIFF’S MEMORANDUM OF LAW
             IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS




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                                    *Denotes an abbreviation defined in this table

                                                           Listed by Term


DarkPulse, Inc. ........................................................................................“Plaintiff” or “DarkPulse”


Defendants’ M.O.L. in Supp. of their M.T.D. the First Am. Compl. ............... “Motion” or “MTD”


Eight-percent Convertible Note issued Sept. 25, 2018 (ECF No. 13-2) ............................... “Note”


EMA Financial, LLC ............................................................................................................ “EMA”


EMA* and EMA Group* ............................................................................................ “Defendants”


EMA Group, LLC..................................................................................................... “EMA Group”


EMA Group* and Preston* ..................................................................................“EMA Managers”


Felicia Preston ................................................................................................................... “Preston”


Plaintiff’s First Amended Complaint .......................................................“Complaint” or “Compl.”


Securities Purchase Agreement exec’d. Sept. 25, 2018 (ECF No. 13-1) ............................... “SPA”


SPA* and Note* ............................................................................................ “Securities Contracts”


Transaction interposed by the Securities Contract ...........................................“DPLS Transaction”




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                                                      Listed by Abbreviation


“Complaint” or “Compl.” ....................................................... Plaintiff’s First Amended Complaint


“DarkPulse” .............................................................................................................. DarkPulse, Inc.


“Defendants” ............................................................................................ EMA* and EMA Group*


“DPLS Transaction” ......................................... Transaction interposed by the Securities Contracts


“EMA” ............................................................................................................ EMA Financial, LLC


“EMA Group”...................................................................................................... EMA Group, LLC


“EMA Managers” .................................................................................. EMA Group* and Preston*


“Motion” ................................ Defendants’ M.O.L. in Supp. of their M.T.D. the First Am. Compl.


“MTD” ................................... Defendants’ M.O.L. in Supp. of their M.T.D. the First Am. Compl.


“Note” ....................... Eight percent Convertible Note issued September 25, 2018 (ECF No. 13-2)


“Plaintiff”.................................................................................................................. DarkPulse, Inc.


“Preston” .................................................................................................................... Felicia Preston


“Securities Contracts”............................................................................................. SPA* and Note*


“SPA” ............. Securities Purchase Agreement executed September 25, 2018 (see ECF No. 13-1)




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                                              INTRODUCTION

        The arguments that Defendants advance in support of their Motion do not approach the bar

for dismissal under Fed. R. Civ. P. 12(b)(6). They fail to show that DarkPulse should be denied

the opportunity to prove its claims that the Defendants violated the Exchange Act and RICO, by

engaging in the business of buying and selling securities without being registered as a securities

dealer, and through the collection of an unlawful debt, respectively. The Motion should be denied.

                                        STATEMENT OF FACTS

        EMA is a New York-based Delaware-registered limited liability company that lends money

to small, publicly-traded companies in need of cash. DarkPulse is a New York-based microcap

company registered in Delaware whose stock trades on the “over the counter” market.

        In September 2018, EMA made a loan to DarkPulse via the purchase of a convertible

promissory note (“Note”) with a principal amount of $100,000. Compl., Ex. 2 (ECF No. 13-2).

The Note charges interest at 8% A.P.R., charges a $6,000.00 original issue discount (and other

fees); payment is due nine months after issuance. Id. at 1. The DPLS Transaction is constituted

by two documents: the convertible Note itself, and a securities purchase agreement (“SPA”) which

provides the terms for the purchase of the Note and other requirements.

        A convertible promissory note is a debt security that gives the lender—here, EMA—the

right, in its sole discretion, to take repayment of the loan in newly-issued company stock instead

of cash. Like a stock option or warrant, the lender is given the right to ‘purchase’ company stock

using the debt under the Note. Unlike a stock option or warrant, however, which carries a fixed

exercise price, the conversion option here has a fixed discount to the market price.1




1
  Instead of standard market price (average trading price or VWAP on date of transfer), the discount is based on the
single lowest sale price of common stock in the 20 days prior to the conversion. Note at ¶ 1.2.
        This “floating price” conversion option guaranteed EMA a strike price pegged at (a

minimum of) 30% below the market price at the time of exercise. In practical terms, EMA was

guaranteed that, for every $100 of debt converted, EMA would acquire a minimum of $142 worth

of DarkPulse stock. The value of a floating price conversion option is a finding of fact which must

be included in the interest calculation for the loan. See Adar Bays, LLC v. Genesys ID, Inc., 37

N.Y.3d 320, 334 (N.Y. 2021). The SEC has long recognized the abusive nature of floating price

convertible notes, referring to them as “toxic” or “death spiral” convertibles.2

        In addition to various other penalties in the Note, Article III sets forth 19 events of default,

which included breach of any of the eleven covenants in the SPA. See Note, Art. III. Section 1.1

of the Note states a default interest rate of 24% APR for amounts remaining unpaid on the due

date. Article III of the Note adds that any event of default rendered the Note “immediately due

and payable,” and required payment of “200 times the sum of” the outstanding principal plus

accrued interest plus default interest plus penalties. Note at 13-14. These amounts were payable

to EMA either in cash or in company stock at the conversion price. Id.

        After execution of the Note on September 25, 2018, EMA conveyed to DarkPulse the

$94,000 in cash as payment for the Note. Six months and two weeks later, EMA began conversions

under the Note, selling the conversion stock into the market immediately after each conversion.3

EMA effected 15 conversions from April through September 2019, and four more in 2020, ending

on October 22, 2020. Significantly, EMA’s conversions did not utilize the 30% discount price,

but instead a 55% discount price accorded to EMA if DarkPulse’s stock price fell below 3 cents




2
  See https://www.investor.gov/introduction-investing/investing-basics/glossary/convertible-securities, last accessed
June 12, 2022.
3
  EMA used the Rule 144 “tacking period” under Rule 144 to avoid the six-month restriction period normally required
for newly-issued stock. The SEC recognizes this practice as underwriting activity, and has proposed changing Rule
144 to stop this abuse. See 17 C.F.R. § 230.144.

                                                         2
per share. See Note at ¶ 1.2;4 Compl. at ¶ 74. Via the conversions, EMA acquired $265,493 in

DarkPulse stock, and claims that at least $53,000 of debt remains outstanding. After the parties

attempted unsuccessfully to negotiate a settlement, DarkPulse filed this suit on January 4, 2022.

                                             LEGAL STANDARD

           In deciding a motion to dismiss under Rule 12(b)(6), a court must accept all factual

allegations in the complaint as true and draw all reasonable inferences in the plaintiff’s favor. See

Bayerische Landesbank v. Aladdin Capital Mgmt. LLC, 692 F.3d 42, 51-52 (2d Cir. 2012). The

complaint must “contain sufficient factual matter, accepted as true, to state a claim to relief that is

plausible on its face.” Mantikas v. Kellogg Co., 910 F.3d 633, 636 (2d Cir. 2018) (citing Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009)). The Court may not grant a motion to dismiss unless “it appears

beyond doubt, even when the complaint is liberally construed, that the plaintiff can prove no set

of facts which would entitle him to relief.” Jaghory v. N.Y. State Dep’t of Educ., 131 F.3d 326,

329 (2d Cir. 1997) (quoting Hoover v. Ronwin, 466 U.S. 558, 587 (1984)). “For purposes of this

general rule, ‘the complaint is deemed to include any written instrument attached to it as an exhibit

or any statements or documents incorporated in it by reference.’” Chambers v. Time Warner, Inc.,

282 F.3d 147, 152 (2d Cir. 2002) (quoting Int’l Adiotext Network, Inc. v. Am. Tel. & Tel. Co., 62

F.3d 69, 72 (2d Cir. 1995) (per curiam)).

                                                  ARGUMENT

     I.    DARKPULSE HAS PLED A PLAUSIBLE RICO CLAIM

           Defendants’ arguments for dismissal of DarkPulse’s RICO claim for the collection of an

unlawful debt belie their confusion about the claim’s pleading requirements. To state such a claim,

a plaintiff must allege facts showing that:



4
    See Compl. at ¶ 74 (alleging Defendants made numerous conversions, including on April 17, 2019).

                                                          3
       (1) Defendants Preston and EMA Group (the “EMA Managers”) are RICO
           culpable persons;

       (2) Defendant EMA Financial is a RICO enterprise;

       (3) The enterprise’s activities affected interstate commerce,

       (4) The EMA Managers conducted the affairs of EMA Financial through the
           collection of an unlawful debt;

       (5) EMA’s loan to DarkPulse charged an interest rate deemed usurious and
           unlawful under New York law;

       (6) The debt created by the loan was unenforceable in whole or in part because of
           the same state usury laws, in this instance, the laws of New York State;

       (7) The debt was incurred in connection with EMA Financial’s business of lending
           money at a usurious rate in excess of twice the maximum enforceable rate under
           New York law;

       (8) EMA collected on the unlawful debt; and

       (9) As a result of the above confluence of factors, DarkPulse was injured in its
           business or property.

See RICO, 18 U.S.C. §§ 1961, 1962; Durante Bros. & Sons, Inc. v. Flushing Nat’l Bank, 755 F.2d

239, 248-49 (2d Cir. 1985). See also Fleetwood Servs., LLC v. Ram Cap. Funding, LLC, 2022

U.S. Dist. LEXIS 100837, *64-*65 (S.D.N.Y. June 6, 2022); Haymount Urgent Care P.C. v.

GoFund Advance, LLC, 2022 U.S. Dist. LEXIS 112768, *13-*15 (S.D.N.Y. June 27, 2022).

DarkPulse has alleged plausible facts to support all of these requirements.

       A. Plaintiff Must Use New York Law to Show That the Debt Was Unlawful

       Defendants appear to misunderstand a RICO unlawful debt collection claim, stating that

DarkPulse’s claim “lacks any foundation in New York law,” as New York’s criminal usury defense

may only be used as an affirmative defense and cannot “be employed as a means to effect recovery

by a corporate borrower.” MTD at 11 (citing Intima-Eighteen, Inc. v. A.H. Schreiber Co., 172

A.D. 456, 457-58 (1st Dept. 1991)). This makes no sense.



                                                4
       Unlike Intima-Eighteen, Plaintiff’s RICO claims arise under federal not state law. See

Compl. at ¶¶ 142-49. RICO requires that the debt be “unenforceable under State or Federal law

in whole or in part … because of the laws relating to usury.” RICO, § 1961(6) (emphasis added).

See Haymount Urgent Care, 2022 U.S. Dist. LEXIS 112768, at *14 (stating “RICO’s definition

of ‘unlawful debt’ invokes state as well as federal laws related to usury to provide substance to the

concept of ‘unlawful[ness].’”).

       Further, nothing in the RICO statute requires, as Defendants suggest, that the state or

federal usury law that renders the loan unenforceable (such as NY GOL § 5-501) must also afford

the damaged party a particular remedy, such as the right to seek damages. See §§ 1961(6), 1964.

RICO mandates only that the loan be “unenforceable” (and charge at least twice the maximum

enforceable rate, etc.). Recent case law in this district shows that the Courts agree. See Fleetwood

Servs., 2022 U.S. Dist. LEXIS 100837, at *68-69, *73 (awarding summary judgment on corporate-

borrower’s RICO claim based on lender’s collection of unlawful debt, where loan charged interest

in excess of 50% APR (i.e., more than double the rate permitted under NY GOL § 5-501 and NY

Penal Law § 190.40)); Haymount Urgent Care, 2022 U.S. Dist. LEXIS 112768, at *12-13, *28

(denying defendants’ motion to dismiss a RICO unlawful debt collection claim based on claim that

the lender collected unlawful debts charging interest at a rate more than double the limitation under

NY GOL § 5-501 and NY Penal Law § 190.40). Accordingly, Defendants’ objections to Plaintiff’s

use of and citation to New York law must fail.

       B. The True Interest Rate is Over Twice N.Y.’s Maximum Enforceable Rate

       Defendants say they are not usurers because the Note is not usurious on its face. MTD at

13-15. Not so. New York’s usury laws evaluate a transaction in its totality, looking beyond its

mere form or the interest stated. See, e.g., Adar Bays, 37 N.Y.3d at 334 (“When determining

whether a transaction is a loan, substance—not form—controls.”); LG Funding, LLC v. United
                                                 5
Senior Props. of Olathe, LLC, 122 N.Y.S.3d 309, 312 (2d Dept. 2020) (“[a loan] must be

considered in its totality and judged by its real character, rather than by [its] name, color, or

form…”).       See also Adar Bays, 37 N.Y.3d at 334 (all value and property exchanged in

consideration for the loan must be included to determine the loan’s true interest rate, including the

value of a conversion option); NY GOL § 5-501; Note at ¶ 1.2 (Conversion Price).

         Here, the Note charged 8% APR as stated interest, with additional 8%5 charged as an

original issue discount (“OID”), as well as other deductions and fees deemed to reimbursement for

expenses. New York courts have repeatedly held that the OID must be included as interest when

the payments do not reimburse lenders for expenses. See Hillair Capital Invs., L.P. v. Integrated

Freight Corp., 963 F. Supp. 2d 336, 339 (S.D.N.Y. 2013) (holding that “when fee payments do

not actually reimburse lenders for expenses associated with the loan, and instead are a disguised

loan payment, then such fee expenses can be considered in determining the interest rate.”);

Hammelburger v. Foursome Inn Corp., 76 A.D.2d 646, 648 (2d Dept. 1980), order modified and

aff’d, 54 N.Y.2d 580 (N.Y. 1981). The Note charged additional interest via the floating-rate

conversion option that guaranteed EMA substantial added consideration. See Adar Bays, 37

N.Y.3d at 334.        This interest was knowingly contracted for and intentionally collected by

Defendants, and not, as Defendants’ claim, upon a default.6




5
  Calculated as:
     Step 1 – Identify the OID: $100,000.00 (Principal Amount) - $94,000.00 (Purchase Price) = $6,000.00;
     Step 2 – Calculate OID Percentage: $6,000.00/$100,000.00 = .06 or 6%;
     Step 3 – Annualize OID Percentage (per NY usury laws): 6% X 12 (months in a year) / 9 (repayment duration in
     months per the Note) = .08 or 8%
6
  Defendants claim that the conversion feature was “only available in the last 3 months” prior to the maturity date of
the 9-month Note, and that as a result, the interest calculation should not include any additional value that EMA gained
via any conversions after DarkPulse failed to pay on the maturity (i.e. as a result of default). See MTD at 14 n.5. This
is false. The Note provided EMA with the right to convert the debt into stock, in its sole and absolute discretion, at
any time. See Note at § 1.1 (emphasis added); see also id. at § 1.4. Further, Defendants’ argument goes to the
valuation of the conversion option, which is a finding of fact and not appropriate for a motion to dismiss.

                                                           6
        As alleged, Plaintiff’s calculations show that, when the lender’s guaranteed gains are

properly valued, the true interest rate of the Note is at least 73% A.P.R. See Compl. at ¶¶ 11-12,

63-70; Adar Bays, 37 N.Y.3d at 334 (endorsing numerous valuation methodologies to calculate

the value of “floating price” conversion options); NY Penal Law § 190.40; § 1961(6).

Accordingly, Plaintiff has properly alleged that the true interest rate exceeds 50% A.P.R., i.e., an

amount sufficiently high to support a RICO claim for the collection of an unlawful debt.

        C. The Savings Clause is Unenforceable Under New York Usury Law

        Defendants argue that because the Note is not usurious on its face, the Note’s usury savings

clause saves the transaction. Compare MTD at 14-15, with Simsbury Fund, Inc. v. New St. Louis

Assoc., 611 N.Y.S.2d 557, 558 (1st Dept. 1994). The clause is unenforceable, as is any clause

attempting to prevent a usury claim. Courts applying New York’s usury laws have repeatedly

disregarded usury savings clauses in light of the fact that New York law unequivocally finds

usurious loans to be void ab initio, and a loan that is void at its inception is void forever. See, e.g.,

Claflin v. Boorum, 122 N.Y. 385, 388 (N.Y. 1890); Sweet Baby Lightning Enter. LLC v. Keystone

Cap. Corp., 2022 U.S. Dist. LEXIS 107335, at *12 (S.D.N.Y. June 15, 2022) (“Nor may Plaintiffs

seek only the enforcement of the non-usurious portions of the loan contract, because a contract

that is deemed void in its entirety cannot be severed to retain only its legal portions. For similar

reasons, the loan contract’s apparent usury-savings clause … is ineffective.”) (citing Adar Bays,

37 N.Y.3d at 333-34); Am. E Grp. LLC v. Livewire Ergogenics Inc., 2020 U.S. Dist. LEXIS 14235,

at *19 n.13 (S.D.N.Y. Jan. 28, 2020) (collecting cases and stating a “usury-savings clause in [a]

note is ineffective under New York law”) (emphasis added). Therefore, the usury savings clause

is of no effect.




                                                   7
         D. DarkPulse Has Alleged that EMA is in the ‘Business’ of Unlawful Lending

         Defendants claim DarkPulse has failed to allege that Defendants are in the business of

lending at usurious rates. MTD at 15. Not so. The requirement that loans be incurred “in

connection with the business” of making usurious loans is aimed simply at excluding “occasional

usurious transactions” by one who is not in the business of lending. Durante Bros. & Sons, Inc. v.

Flushing Nat’l Bank, 755 F.2d 239, 250 (2d Cir. 1985).7 Here, the Complaint alleges that

Defendants are engaged in the business of lending at a usurious rate, making specific reference to

three other instances of EMA loans charging more than twice the legal rate, see Compl. at ¶ 57,

and further alleging that between January 2015 and August 2021, Defendants made no fewer than

395 similarly usurious loans to no fewer than 132 other companies. See id. at ¶ 58. See also id.

at ¶¶ 6, 55, 62, 82, 108.8 This level of lending demonstrates that Defendants are not innocent

makers of “occasional” usurious loans, but, instead, are persons engaged “in the business of loan

sharking” that RICO sought to punish. See Fleetwood Servs., 2022 U.S. Dist. LEXIS 100837, at

*64. Thus, Plaintiff has alleged that Defendants are engaged in the business of making usurious


7
  See also United States v. Giovanelli, 945 F.2d 479, 490 (2d Cir. 1991) (“Unlike a ‘pattern of racketeering activity’
which requires proof of two or more predicate acts, to satisfy RICO's “collection of unlawful debt” definition the
government need only demonstrate a single collection”).
8
  In further support of allegations in the Compl. (see id. at ¶¶ 6, 55, 57-58, 62, 82, 108), DarkPulse notes that EDGAR
filings demonstrate that EMA is—and for several years has been—in the business of usurious lending via convertible
notes governed by New York law that charge a total rate of interest—consisting of stated interest, OID interest, and—
per Adar Bays—additional conversion discount interest—in excess of 50.01% APR (i.e., more than double the
maximum enforceable amount under New York law), viz.: Elite Data Services, Inc., Form 8-K EX-10.55 (filed July
21, 2015), available at https://bit.ly/3A9ZKah; Eventure Interactive, Inc., Form 10-Q EX-10 (filed Aug. 19, 2018),
available at https://bit.ly/3OJ3og5; IDDriven, Inc., Form 8-K EX-10.2 (filed Apr. 12, 2017), available at
https://bit.ly/3I1aEkU; Immune Pharmaceuticals, Inc., Form 8-K EX-10.2 (filed Apr. 19, 2017), available at
https://bit.ly/3NwpMYq; InCapta, Inc., Form 10-K EX-10.14 (filed June 8, 2016), available at https://bit.ly/3no7LkE;
Lingerie Fighting Championships, Inc., Form 8-K EX-4.1 (filed Nov. 16, 2017), available at https://bit.ly/3npG9va;
NaturalShrimp, Inc., Form 10-K EX-10.2 (filed Sept 28, 2017), available at https://bit.ly/3QU1L0d; Poverty
Dignified, Inc., Form 10-K/A EX-10.9.9 (filed Jan. 14, 2019), available at https://bit.ly/3QRzzv9; Friendable, Inc.,
Form 8-K EX-10.120 (filed Mar. 6, 2017), available at https://bit.ly/3QU0PZ; Realbiz Media Group, Inc., Form 10-
K EX-10.22 (filed Mar. 26, 2018), available at https://bit.ly/3AoQOOJ. See Fed. R. Evid. 201; Kramer v. Time
Warner, Inc., 937 F.2d 767 , 774 (2d Cir. 1991) (“[A] district court may take judicial notice of the contents of relevant
public documents required to be filed with the SEC”); Marcus v. AT & T Corp., 938 F. Supp. 1158, 1164-65 (S.D.N.Y.
1996) (noting that on a motion to dismiss, the court may take judicial notice of public documents even if not included
in or attached to complaint); ATSI Commc’ns Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007).

                                                           8
loans at more than double the maximum enforceable rate, and has successfully pled a claim for

RICO unlawful debt collection. See Fleetwood Servs., 2022 U.S. Dist. LEXIS 100837, at *63,

*68-69.

        E. DarkPulse Has Properly and Plausibly Alleged that EMA Financial is an
           Enterprise, and that Preston and EMA Group are Culpable Persons

        Defendants argue that Plaintiff has failed to allege the existence of a RICO enterprise and

a RICO culpable person distinct from one another. See MTD at 12-13. While their argument is

not entirely clear,9 distinctiveness is not lacking in DarkPulse’s allegations.

        Specifically, Defendants aver that “DarkPulse’s RICO claim fails because the corporate

defendants may not be in an ‘enterprise’ by virtue of working with their sole decision maker,

Felicia Preston,” for which they cite Riverwoods Chappaqua Corp. v. Marine Midland Bank, N.A.,

30 F.3d 339 (2d Cir. 1994),10 abrogated on other grounds by Cedric Kushner Promotions, Ltd. v.

King, 533 U.S. 158, 159 (2001), and U1it4less, Inc. v. Fedex Corp., 871 F.3d 199, 206 (2d Cir.

2017). Defendants, however, fail to appreciate that the Supreme Court has already unanimously

found this interpretation of § 1962(c) and the distinctness requirement erroneous and, further,

Plaintiff’s RICO claim properly alleged and sufficiently distinct.

        To explain, in Cedric Kushner Promotions, Ltd. v. King, 219 F.3d 115, 117-18 (2d Cir.

2000) (citing Riverwoods), the Second Circuit affirmed the trial court’s decision to dismiss the

plaintiff’s § 1962(c) RICO claim after finding the “King was an employee acting within the scope

9
  Among other things, Defendants seem to suggest either that DarkPulse has alleged that EMA Financial is both the
RICO enterprise and the RICO culpable person (which it has not alleged), or that DarkPulse has not clearly pled
which defendant is the enterprise and which is culpable person (which it has alleged, see Compl. at ¶ 13 (“EMA is an
‘enterprise’ as defined in [RICO]…”)). See MTD at 12. Defendants also appear to ignore the definitions in the
Complaint: Defendant EMA Financial, LLC is defined to be “EMA Lending Enterprise”, “EMA Enterprise”, and
Preston and EMA Group are defined to be the “EMA Managers.” See Compl. at 1 n.1.
10
   Plaintiffs’ allegations are easily distinguishable from Riverwoods, where the plaintiff solely named “Marine
Midland” as the RICO enterprise. Here, Plaintiff distinctly names EMA as the “enterprise” and Preston as the liable
“person.” Compl. at ¶¶ 13, 15. The comparison fails because, unlike Marine Midland, the culpable party, Preston,
acted through EMA as an instrument for the racketeering activity. See id. at ¶ 93. See also Riverwoods Chappaqua
Corp. v. Marine Midland Bank, N.A., 30 F.3d 339, 344 (2d. Cir. 1994).

                                                         9
of his authority at DKP” and, thus, not legally distinct from the RICO enterprise—a corporation.

The Supreme Court unanimously reversed, finding the Second Circuit’s interpretation erroneous

after noting that “the employee and the corporation are different ‘persons,’ even where the

employee is the corporation’s sole owner,” Cedric Kushner, 533 U.S. at 161-64, and, thus, the

plaintiff’s claim easily met the “distinctness” requirement imposed by the statute. Id. at 163.

       The one relevant, factually-specific caveat to the Supreme Court’s holding can be found in

Cruz v. FXDirectDealer, LLC, 720 F.3d 115 (2d Cir. 2013), where the Second Circuit evaluated a

§ 1962(c) claim premised on an association-in-fact enterprise—which is not alleged here.

Compare id. at 120-21, with Compl. at ¶¶ 142-49. The Cruz plaintiff specifically alleged that the

corporation was both the RICO culpable person and a member of the association-in-fact enterprise.

720 F.3d at 120-21. In affirming dismissal of RICO claim, the Second Circuit noted that while

corporations are legally separate, when they “operate within a unified corporate structure” they are

“guided by a single corporate consciousness” and, most important here, “cannot be both the

‘enterprise’ and the ‘person’ under § 1962(c).” Id. at 121.

       The Second Circuit then expanded the “single corporate consciousness” doctrine in

U1it4less, where the plaintiff asserted a § 1962(c) claim entirely consisting of related

corporations: (1) FedEx Ground Package System, Inc. (“FedEx Ground”), the alleged RICO

enterprise; (2) FedEx Corporate Services, Inc. (“FedEx Corporate”); and (3) FedEx Corporation

(“FedEx”), the holding company for all FedEx subsidiaries, including FedEx Ground and FedEx

Corporate (FedEx Corporate and FedEx, the two corporate RICO culpable persons. 871 F.3d at

206-07. In light of the fact that the aforementioned enterprise and culpable persons were all

operating as part of a “unified corporate structure,” id. at 206, the Second Circuit found the

distinctness requirement was not met and affirmed dismissal of the RICO claim.



                                                10
         Having taken a closer look at the facts at issue in Cedric Kushner, Cruz, and U1it4less, it

is clear that Plaintiff’s § 1962(c) claim is sufficiently distinct because it consists of a unified

corporate structure. Indeed, like Cedric Kushner, Plaintiff has alleged that EMA is the RICO

enterprise that is controlled by two distinct culpable persons: EMA Group and Preston—the latter

of which, like Don King in Cedric Kushner, is a legal person that is the managing member who

acted in the scope of her corporate authority, but is not a part of the unified corporate structure.

See Compl. at ¶¶ 29-30, 51, 93-99.

         Stated differently, the Second Circuit’s very limited holdings are entirely inapplicable here.

See Cedric Kushner, 533 U.S. at 164 (“This case concerns a claim that a corporate employee is the

[RICO culpable] ‘person’ and the corporation is the [RICO] ‘enterprise.’”). Indeed, the Southern

District recognized the validity of Plaintiff’s RICO claim just a few weeks ago in Fleetwood, 2022

U.S. Dist. LEXIS 100837, where the Southern District awarded summary judgment on the

plaintiff’s § 1962(c) claim asserting the corporation to be the RICO enterprise and its founder/sole

employee to be the RICO culpable person. See id. at *27-28 (citing Cedric Kushner, 533 U.S. at

161-63).11

         Defendants end their argument by claiming the Complaint “purports to allege the elements

of RICO only as to EMA Financial, not EMA Group or Defendant Preston.” See MTD at 13. This

is not correct. See Compl. at ¶¶ 93, 94 (“Preston, as the sole owner of EMA Group, has sole and

exclusive control and final decision-making authority over EMA”), 95, 97, 98, 99 (“At all times

relevant hereto, the EMA Managers [Preston and EMA Group] intended to engage in the unlawful




11
   Furthermore, unlike the present case, U1it4less establishes a RICO enterprise is not sufficiently distinct from the
alleged RICO person solely by virtue of their separate legal incorporation. U1it4less, Inc. v. FedEx Corp., 871 F3d
199, 206 (2d Cir. 2017). The comparison fails because EMA, a legal corporation, was distinctly identified as the
enterprise and Preston the liable person. Compl. ¶¶ 13, 15. Preston utilized EMA as a vehicle for the racketeering
activity and was not a subsidiary or affiliated corporation. Compl. ¶ 93. See also U1it4less, 871 F3d at 205.

                                                         11
conduct herein alleged, with actual… knowledge of the illegal activities.”), 143 (“Each of the EMA

Managers is a RICO culpable ‘person’…”), 145 (“The EMA Managers agreed to and did conduct

and participate in the conduct of the Enterprise’s affairs through the collection of unlawful debt

from DarkPulse…”), and 147 (“The EMA Managers have directly and indirectly conducted and

participated in the conduct of the enterprise’s affairs through the collection of unlawful debt…”).

Accordingly, DarkPulse has alleged plausible and sufficient RICO allegations against both the

enterprise and the culpable persons — including Preston.

 II.    DARKPULSE HAS STATED PLAUSIBLE EXCHANGE ACT CLAIMS BECAUSE
        THE S.P.A.’S OBLIGATE EMA—AN UNREGISTERED DEALER—TO
        PURCHASE SECURITIES

        Section 29(b) of the Exchange Act, 15 U.S.C. § 78cc, gives aggrieved parties the right to

rescind a contract where the formation of the contract or the performance of the contract violates

the Act or any rule or regulation thereunder:

         Every contract made in violation of any provision of this chapter or of any rule or
         regulation thereunder, and every contract … the performance of which involves the
         violation of, or the continuance of any relationship or practice in violation of, any
         provision of this chapter or any rule or regulation thereunder, shall be void (1) as regards
         the rights of any person who, in violation of any such provision, rule, or regulation, shall
         have made or engaged in the performance of any such contract…

§ 29(b) (codified as 15 U.S.C. § 78cc(b)) (emphasis added). Congress could not have been clearer

in drafting § 29(b). Under the Section, a court must scrutinize both whether the “making” of the

contract was unlawful and whether the “performance” of the contract “involved a violation” of the

Exchange Act. “Thus, the express terms of a contract could be perfectly lawful, yet the ‘making’

of the contract might involve a violation of the Exchange Act or its rules or regulations.”12 See

also Omega Overseas, Ltd. v. Griffith, 2014 U.S. Dist. LEXIS 109781 (S.D.N.Y. Aug. 7, 2014)



12
  Gruenbaum & Steinberg, Section 29(b) of the Securities Exchange Act of 1934: A Viable Remedy Awakened, 48
Geo.Wash.L.Rev. 1, 21 (1979).

                                                    12
(contract may be voided under § 29(b) “where the contract was made illegally or required illegal

performance”).

       A. A Contract “Made in Violation” of the Act May Be Rescinded Under the Supreme
          Court’s Mills Decision and the 2nd Circuit’s Pearlstein Decision

       Mills v. Electric Auto-Lite Company, 396 U.S. 375 (1970), is a well-known example of

rescission under § 29(b) of the Exchange Act based on violations in the formation of a securities

contract. In Mills, a group of shareholders used § 29(b) to rescind a merger contract, based on

their proof that the proxy-soliciting materials used to gain shareholder approval of the merger

contained material misstatements, in violation of § 14(a) of the Exchange Act. The Court held

that, because the violating proxy solicitation was an “essential link in the accomplishment of the

transaction,” the contract was voidable under § 29(b). 396 U.S. at 385.

       In Pearlstein v. Scudder & German, 429 F.2d 1136 (2d Cir. 1970), the Court upheld the

§ 29(b) rescission of a bond purchase. The bond contract was not illegal on its face and did not

require performance that would violate the Exchange Act. The broker violated Regulation T of

the Exchange Act during the formation of the contract, however, because it had knowingly

permitted the customer to use a bank loan to finance the purchase, which is prohibited under the

Exchange Act. Pearlstein, 429 F. 2d at 1140-41.

       B. The Securities Contracts in This Case Were Made In Violation of § 15(a) and
          Obligate Performance that Violates § 15(a)

       The violations at issue can be characterized in either sense: the Agreements were “made

in violation” of § 15(a) of the Exchange Act and require “performance” that would violate § 15(a)

of the Exchange Act. Under § 15(a):

       It shall be unlawful for any broker or dealer … to make use of the mails or any means or
       instrumentality of interstate commerce to effect any transactions in, or to induce or
       attempt to induce the purchase or sale of, any security (other than an exempted security
       or commercial paper, bankers’ acceptances, or commercial bills) unless such broker or
       dealer is registered in accordance with subsection (b) of this section.

                                               13
§ 15(a)(1) (codified as 15 U.S.C. § 78o(a)(1)) (emphasis added). Because the Notes at issue here

are themselves securities, an unregistered securities dealer violates § 15(a) of the Exchange Act

merely by entering into a contract to purchase the Note (violation in formation), or where the

contract requires the unregistered dealer to purchase a security.

         C. Unlike in the Defendant in Vystar, Plaintiff Has Alleged that the SPA Obligates
            EMA to Purchase a Security

         EMA’s only real obligation under the Securities Contracts was to purchase a security:

         NOW, THEREFORE, IN CONSIDERATION of the mutual covenants contained in this
         Agreement, and for other good and valuable consideration, the receipt and adequacy of
         which are hereby acknowledged, the Company and the Purchaser agree as follows:

         1. Purchase and Sale of Note.

             a) Purchase of Note. On the Closing Date (as defined below), the Company shall issue
                and sell to the Purchaser, and the Purchaser agrees to purchase from the Company,
                the Note…

SPA at 1 (emphasis added). Unlike the defendant in Vystar—who was unable to “identify a

provision in the contracts that obligates [plaintiff] to act as a broker dealer”13—the Securities

Contracts show that EMA’s primary obligation under the SPA is to purchase a security.14 Because

§ 15(a) prohibits an unregistered securities dealer from “effecting a transaction in securities,”

EMA—an unregistered securities dealer—could not perform its contractual obligations without

violating the Exchange Act.




13
   While Vystar characterizes a § 15(a) violation as “act[ing] as a broker dealer,” the Exchange Act makes it unlawful
for an unregistered dealer “to effect any transactions in, or to induce or attempt to induce the purchase or sale of, any
security.”
14
   Under the Exchange Act, any promissory note with a maturity date of nine months or greater is presumptively a
security. See 15 U.S.C. § 78c(a)(10). The Note would not be convertible into freely-trading stock if it were not a
security to begin with. See 17 C.F.R. § 230.144(d)(3)(ii).

                                                          14
       D. The Formation of the Agreements Violated the Act Because—Under § 15(a)(1)—
          EMA Was Prohibited From Effecting the Transaction

       If an unregistered securities dealer enters into a contract that effects a transaction in

securities, the contract is unlawful as made, because an unregistered dealer violates the Exchange

Act by entering into that contract to begin with. This is the precise holding of Eastside Church of

Christ v. National Plan, Inc., 391 F.3d 357 (5th Cir. 1968), where the court granted rescission of

a bond issued by a church to an unregistered dealer. The Fifth Circuit held:

       Under § 15(a)(1), National was prohibited from effecting the transactions here involved
       and thus violated the Act by entering into those transactions. Under the voiding provision
       of § 29(b), it is sufficient to show merely that the prohibited transactions occurred and that
       appellants were in the protected class.

391 F.3d at 362 (citations omitted). Just like the bond in Eastside Church, the securities contracts

in this case were unlawful as made, because EMA violated the Exchange Act by entering into

those transactions.

       EMA does not explain how an unregistered securities dealer might lawfully enter into, or

perform the Securities Contracts without violating § 15(a). Instead, EMA offers the conclusory

remark that the Securities Contracts did not require unlawful performance and were not made in

violation of the Exchange Act. MOL at 8. EMA then states:

       this Court has already held that a similar SPA and Note involving EMA Financial was
       ‘neither made nor performed in violation of any federal securities laws as is required for
       rescission under Section 29(b).’ EMA Fin., LLC v. Vystar Corp., Inc., 2021 WL 1177801,
       at *2-3.

Id. In fact, the Vystar court did not hold that the contract in that case was “neither made nor

performed in violation of any federal securities laws.” The passage quoted by EMA is from GFL

Advantage Fund, Ltd. v. Colkitt, 272 F.3d 189, 202 (3d Cir. 2001), which the Vystar court quoted

in a parenthetical. No “as made” violation was alleged in Vystar; the court rejected the claim on

the ground that Vystar “does not identify a provision in the contracts that obligates [EMA] to act


                                                15
as a broker-dealer.” EMA Fin., LLC v. Vystar Corp., 336 F.R.D. 75, 81 (S.D.N.Y. 2020).

Nonetheless, Vystar has been lionized for its requirement—created ex nihilo—that only contracts

obligating unlawful performance qualify for § 29(b) rescission. See e.g., EMA Fin., LLC v. NFusz,

Inc., 509 F. Supp. 3d 18, 37 n.22 (S.D.N.Y. 2020) (dicta stating that “[in]n this District” a 29(b)

claim would fail without a provision in the contract requiring the plaintiff to register as a broker

(citing Vystar, ExeLED, etc.))15

         E. EMA is Not Exempt from Registration as a “Trader”

         Finally, Defendants argue that EMA is a “trader,” and, thus, is not considered a “dealer”

under the Exchange Act. See MTD at 8-9. EMA is no trader and it is not exempt from registration.

The “trader exemption” argument has been rejected every time it has been made by parties using

the exact same business model as EMA,16 and fares no better in this case. As in those cases, the

Complaint alleges that: (1) EMA engaged in a substantial volume of securities transactions

through, first, purchasing convertible notes and, next, effecting conversions17 of issuer debt under


15
   Vystar and LG Capital Funding, LLC v. ExeLED Holdings, Inc., 2018 U.S. Dist. LEXIS 202540 (S.D.N.Y. Sept.
28, 2018) analyzed the contracts as if they were brokerage services contracts rather than securities contracts. For an
unlicensed broker analysis—an entirely different and distinct actor in the securities marketplace (see 15 U.S.C.
§ 78c(a)(4)(A))—and which comprise the vast majority of rescission cases based on § 15(a) violations, the contracts
under scrutiny are not (and not alleged to be) securities, but simple contracts for services; merely entering into a non-
securities contract does not ‘effect a transaction in securities.’ Where only unlicensed broker violations are alleged,
the court’s § 29(b) analysis is rightly limited to whether the contracts obligate the unlicensed broker to undertake any
activities prohibited by § 15(a). See Dervan v. Gordian, 2017 U.S. Dist. LEXIS 28551 at *8 (S.D.N.Y. Feb. 28, 2017)
(broker services); Zerman v. Jacobs, 510 F. Supp. 132 (S.D.N.Y. 1981) (broker). See also Frati v. Saltzstein, 2011
U.S. Dist. LEXIS 25567 (S.D.N.Y. Mar. 14, 2011) (similar analysis rejecting § 29(b) claim for contract purchasing
hedge fund shares, which are not securities under the Exchange Act).
16
   See, e.g., SEC v. GPL Ventures LLC, 2022 U.S. Dist. LEXIS 9056, at *16-17 (S.D.N.Y. Jan. 18, 2022); SEC v.
Almagarby, 479 F. Supp. 3d 1266 (S.D. Fla. 2020); SEC v. Keener, 2020 U.S. Dist. LEXIS 146256, at *1271-72 (S.D.
Fla. Aug. 13, 2020); SEC v. Fife, 2021 U.S. Dist. LEXIS 242126,, at *16-17, *19 (N.D. Ill. Dec. 20, 2021); SEC v.
Fierro, 2020 U.S. Dist LEXIS 238936, at *5-12 (D.N.J. Dec. 18, 2020). See also SEC v. LG Capital Funding, LLC,
et al., Case No. 1:22-cv-03353 (E.D.N.Y. Jun 7, 2022).
17
   Pursuant to the Exchange Act’s definitions of “purchase” and “sell” (see 15 U.S.C. §§ 78c(a)(13), (14)), a
conversion pursuant to the Note, resulting in the issuance of newly issued shares of issuer common stock, constitutes
both a purchase and sale, as it entails the acquiring of new securities (the newly issued shares) and disposing of an old
security (the Note). Accord Park & Tilford, Inc. v. Schulte, 160 F.2d 984, 987 (2d Cir. 1947); Hooper v. Mountain
States Sec. Corp., 282 F.2d 195, 200-203 (5th Cir. 1960) (holding that a corporation’s issuance of stock constituted a
“purchase” and “sale” under the Exchange Act); Heli-Coil Corp. v. Webster, 352 F.2d 156, 161-167 (3d Cir. 1965)
(finding a conversion of debentures into shares of common stock constitutes a “sale” and “purchase” under the
Exchange Act). See also Realmonte v. Reeves, 169 F.3d 1280, 1285 (10th Cir. 1999); 7547 Corp. v. Parker & Parsley

                                                          16
the notes, thereby acquiring millions (if not billions) of shares of newly-issued common stock,

Compl. at ¶¶ 1, 37, 41, 43, and 44; (2) like an underwriter, EMA acquired stock with a view to

distribute and promptly sold the shares of stock it obtained from each conversion, id. at ¶¶ 48-53;

and (3) unlike a trader, EMA did not purchase stock on the open market but, instead, like a dealer,

acquired new stock, at a substantial discount, directly from the issuers, id. at ¶¶ 40, 55; which it

immediately sold into the market in order to reap the “spread” between the discount and the market

price, like an underwriter. Accordingly, EMA fits the definition of a “dealer” under the Exchange

Act and does not remotely qualify for the “trader exemption” set forth in § 78c(5)(B).18

        F. DarkPulse has Stated a Plausible “Control Person” Claim Against Preston

Defendants’ incorrectly aver that Plaintiff has failed to plead a violation of § 20(a) against Preston.

See MTD at 9-10. To state a claim for so-called control person liability, the plaintiff must show:

(1) a primary violation by a controlled person, Boguslavsky v. Kaplan, 159 F.3d 715, 720;

Endovasc Ltd. v. J.P. Turner & Co., LLC, 2004 U.S. Dist. LEXIS 5075, at *47-48 (S.D.N.Y. Mar.

30, 2004); (2) control of the primary violator by the defendant, Boguslavsky, supra, at 720; SEC

v. First Jersey Sec., Inc., 101 F.3d 1450, 1472-73 (2d Cir. 1996) (defendant must have possessed

“the power to direct or cause the direction of the management and policies of a person, whether

through ownership of voting securities, by contract, or otherwise.”); In re Livent, Inc. Securities

Litigation, 78 F. Supp. 2d 194, 221 (S.D.N.Y. 1999) (“Actual control is essential to control person

liability.”); and (3) the controlling person was “in some meaningful sense a culpable participant in



Dev. Partners, LP, 38 F.3d 211, 225-29 (5th Cir. 1994); Poptech, LP v. Stewardship Inv. Advisors, LLC, 849 F. Supp.
2d 249, 272 (D. Conn. 2012).
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   Defendants have not suggested that EMA held the newly-obtained stock for a sufficient period of time, though they
do argue that DarkPulse has failed to “identify even a single sale of stock.” See MTD at 9. As Defendants are aware,
selling activity is non-public information to which DarkPulse does not have access; no one other than Defendants’
employees, securities brokers, and others in a position providing direct knowledge of such information would be able
to make specific allegations about this behavior. All of this explains why Defendants do not deny that EMA promptly
sells the newly-issued stock it obtains from issuers via convertible notes.

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the primary violation.” Boguslavsky, supra, at 720; Ernst & Ernst v. Hochfelder, 425 U.S. 185,

209 (1976) (“culpable participation” requires “something more than negligence”); In re Livent,

151 F. Supp. 2d 371, 412, 418 (S.D.N.Y 2001) (recklessness is the minimum level of culpability

that must be pled; “[r]ecklessness demands conduct that exceeds negligence but does not cross

the threshold of intentional misconduct.”). See also Sanders v. John Nuveen & Co., 554 F.2d 790,

793 (7th Cir. 1977). Once a plaintiff establishes a prima facie case for control liability, the burden

shifts to the defendant to show it acted in good faith and did not directly or indirectly induce the

act constituting the violation. In re Alstom SA Securities Litigation, 406 F. Supp. 2d 433, 487

(S.D.N.Y. 2005).

       Plaintiff has pled the three requirements for pleading control person liability against

Preston. First, as explained in detail above, Plaintiff has pled the “primary violation(s)” by EMA,

the controlled person, viz.: EMA violated § 15(a) of the Exchange Act through both (i) EMA’s

effecting (making) the securities contracts as an unregistered securities dealer, and (ii) EMA’s

performing under the contracts as an unregistered dealer. See Compl. at ¶¶ 81-99. Thus,

DarkPulse has met the “primary violation” requirement.

       Second, Defendants mischaracterize the Complaint by suggesting that Plaintiff’s control

allegations against Preston are limited to “‘tertiary liability,’ meaning control over one entity that

then allegedly has control over another.” MTD at 10 (citing Fezzani v. Bear, Stearns & Co., Inc.

382 F. Supp. 2d 618, 646 (S.D.N.Y. 2004)). Nonsense. Plaintiff has pled that Preston had the

actual power to direct, authorize, and compel EMA to engage in the violations of § 15(a) of the

Exchange Act. See Compl. at ¶¶ 93-99. Preston personally and through others employed by EMA,

acting at Preston’s direction, including EMA Group, negotiated the terms of the unlawful securities

contracts. Id. at ¶¶ 93-95. In other words, Preston did not merely have and exercise tertiary



                                                 18
control, she had and exercised plenary control over EMA’s operations including its alleged

violations of § 15(a). Thus, DarkPulse has properly pled the control element.

       Third, Defendants make the blanket statement that Plaintiff failed to plead that Preston is

a culpable participant. See MTD at 10. This is untrue. See Compl. at ¶¶ 5, 14, 25-30, 51, 93-99,

137-141. Plaintiff alleged that Preston had the intent to commit securities violations under the

Exchange Act because Preston, from her previous experience as a registered broker, knew EMA

was required to register as a dealer, but did not direct EMA or register as such before entering into

the securities contracts with Plaintiff. See Compl. at ¶¶ 96-97. This rises to recklessness or more,

surely exceeding mere negligence.

       G. Plaintiff’s § 29(b) Claims are Not Time-Barred

       Defendants begin their statute of limitations argument by misquoting § 29(b), arguing that

the statute requires that claims “must be brought within ‘one year after the discovery that [a] sale

or purchase involves [a violation of Section 15(a)] and within three years after such violation.’ 15

U.S.C. § 78cc(b).” MTD at 5-6. Nowhere does § 78cc(b) (§ 29(b)) establish a limitations period

for claims under § 15(a); the limitations period in that section quite clearly relates only to § 15(c),

which applies to broker-dealer fraud. See Lawrence v. Richman Grp. of Conn., LLC, 407 F. Supp.

2d 385, 389 n.7 (D. Conn. 2005).

       In addition to the misquoted statute, Defendants rely on Alpha Capital Anstalt v. Oxysure

Sys., Inc., 216 F. Supp. 3d 403 (S.D.N.Y. 2016) and Kahn v. Kohlberg, Kravis, Roberts & Co.,

970 F.2d 1030 (2d Cir. 1992), for their timeliness claim, two cases that rely, in part, on abrogated

law. In Kahn, the Second Circuit considered the limitations period for rescission claims under

§ 215 of the IAA, a section widely-recognized as very similar to § 29(b). As with § 29(b), § 215

contains no limitations period; hence, the court looked to the analysis in Lampf, Pleva, Lipkind,

Prupis & Petigrow v. Gilbertson, 498 U.S. 894 (1990), to determine whether the one-year/three-
                                                  19
year limitations period should apply to § 215 rescission based on, inter alia, the defendant’s failure

to register as an investment advisor). The Kahn plaintiffs argued that the one-year/three-year

period applies only to claims involving fraud, and was not appropriate for unregistered-investment-

advisor claim. The Second Circuit rejected this argument and held that the one-year/three-year

period applied to the investment advisor claim, observing that both the IAA and the Exchange Act

were “enacted for the purpose of avoiding frauds,” and noting specifically that § 15 “is an antifraud

provision.” Kahn, 970 F.2d at 1038-39.

        Alpha Capital reached the same conclusion in regard to a § 29(b) claim based on an

unregistered-broker violation of § 15(a). Relying on Ceres Partners v. GEL Associates, 918 F.2d

349 (2d Cir. 1990) (addressing securities-fraud claims under § 10(b)), the Alpha Capital court

applied the one-year/three-year limitations period, comparing it to the fraud claim in Dodds v.

Cigna Sec., Inc., 841 F.Supp. 89, 92 (W.D.N.Y. 1992).

        The Sarbanes-Oxley Act of 2002 applied a set limitations period for any private right of

action involving “a claim of fraud, deceit, manipulation, or contrivance in contravention of a

regulatory requirement concerning the securities law…” 28 U.S.C. § 1658(b). Sarbanes-Oxley is

well-recognized as having reset the statute-of-limitations period for all securities fraud claims

(with no stated limitations period, such as under § 10(b)) to a two-year/five-year scheme. Whether

a claim under § 15(a) is governed by Sarbanes-Oxley is unclear, but the holding in Kahn—that

§ 15 is an anti-fraud statute—suggests the affirmative. See also Louis Loss, SECURITIES

REGULATION 25-29 (1st ed. 1951) (observing connections between broker-dealer registration

laws and fraud; e.g. violation of NY Gen. Bus. Law § 359-e is defined as “fraudulent practice”).

Under Sarbanes-Oxley’s five-year statute of repose, DarkPulse would have until September 2023

(at the earliest) to bring its claim; the claim is therefore not untimely.



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                    1. EMA’s Registration Status Does Not Provide Notice of Its Violations

           Defendants aver that the one-year clock started to run on the date the Note was executed

(i.e., September 25, 2018), because “through the exercise of reasonable diligence,” DarkPulse

could have discovered that Defendants were not licensed broker-dealers. See MTD at 6. That

makes no sense, however, because Defendants have consistently maintained—as they do even

now—that they are not dealers and therefore are not required to register. See Auctus Fund, LLC,

v. Players Network, Inc., 20-cv-10766, ECF No. 84 (Order) at *18 (D. Mass. Dec. 10, 2021)19

(stating that the results of a BrokerCheck search “would not have put the [issuer] on notice of any

violation because the [noteholder’s] misrepresentations made the [issuer] believe that [the

noteholder] was not a dealer and thus not required to register as such.”). See also Busher v. Barry,

2019 U.S. Dist. LEXIS 172754, at *18-19 (S.D.N.Y. 2019).

           Defendants cite two cases to support their effort to lead the Court into prematurely starting

the clock on Plaintiff’s Exchange Act claims: Alpha Capital, 216 F. Supp. 3d 403, and JD

Anderson v. Binance, 2022 U.S. Dist. LEXIS 60703 (S.D.N.Y. Mar. 31, 2022). Both cases are

factually distinguishable and lend no support to Defendants’ arguments. First, in both cases, the

party seeking relief under § 29(b) knew that the alleged Exchange Act violator was not, in fact,

registered under the Exchange Act years before bringing its claim. See Alpha Capital, 216 F.

Supp. 3d at 408; Binance, 2022 U.S. Dist. LEXIS 60703, at *4. Second, both cases concerned

unregistered brokers, not unregistered dealers, which makes a substantial difference: The scope

of facts necessary to determine whether an entity qualifies as a securities dealer (in the business of

buying and selling securities for its own account, and not simply a trader) are far more complicated

and less obvious than the facts needed to know if a person qualifies as a securities broker (i.e.,



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     A copy of the Auctus decision is filed herewith as Exhibit 1.

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“engaged in the business of effecting transactions in securities for the account of others”) because

“the ordinary investor does not effect transactions for the account of others.” Louis Loss & Joel

Seligman, SECURITIES REGULATION 815 (5th ed. rev. 2004).

       Unlike the claimants in Alpha Capital and Binance, Defendants cannot show any point in

time that DarkPulse knew EMA was unregistered, and no point when DarkPulse knew that EMA

should have been registered. And that is because as noted above, at all times—even now—EMA

maintains and represents that it is not an unregistered dealer, but simply an investor. Stated

differently, it would’ve been unreasonable for DarkPulse to check a registry (i.e., the SEC’s

broker-dealer database or FINRA’s BrokerCheck system) for an “investor” who repeatedly and

continuously represents it does not need to register.

               2.      Rescission is Timely Under the Continuing Violation Doctrine

       Even if the Court were to apply the 1-year/3-year rule here, DarkPulse’s claims would be

timely under the continuing violation doctrine, which is “aimed at ensuring that illegal conduct is

punished by preventing a defendant from invoking the earliest manifestation of its wrongdoing as

a means of running out the limitations clock on a course of misconduct that persisted over time.”

SEC v. Almagarby, 479 F. Supp. 3d 1266, 1271 (S.D. Fla. 2020).

       “A continuing violation is occasioned by continual unlawful acts, not by continual ill

effects from an original violation.” Ward v. Caulk, 650 F.2d 1144, 1147 (9th Cir. 1981). Defendant

argues against a continuing violation by citing to Kahn v. Kohlberg, where the court rejected the

doctrine for plaintiffs seeking rescission of an investment contract where the advisor was

unregistered. MTD at 6. Unlike this case, Kahn is a textbook example of “continual ill effects

from an original violation” where the unregistered investment advisor simply provided on-going

investment advice pursuant to the original contract. Kahn, 970 F.2d at 1041. Here, Defendants



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first violated § 15(a) in September 2018, when they used the channels of interstate commerce to

execute the DPLS Transaction. But unlike the contract in Kahn, EMA committed a fresh,

independent violation of § 15(a) each time it transacted in securities: each conversion, and each

sale of the conversion stock made “a chain of unlawful acts” reaching back to the original contract.

See UFCW Local 1500 Pension Fund v. Mayer, 2016 U.S. Dist. LEXIS 145091, at *36 (N.D. Cal.

2016). Although EMA could have refrained from further violations and simply taken cash as

repayment of the Note, they did not do so. See Ingenito v. Bermec Corporation, 376 F. Supp.

1154, 1184 (S.D.N.Y. 1974). Each conversion and sale constituted an independent act inflicting

a new and accumulating injury to DarkPulse and its shareholders. See US Airways, Inc. v. Sabre

Holdings Corp., 938 F.3d 43, 68-69 (2d Cir. 2019).

           On October 22, 2020, Defendants acquired 77,623,000 shares of DarkPulse newly-issued

stock via a conversion under the 2018 Note. See Compl. at ¶ 74. Thus, the operative date is

October 22, 2020, the last violation (thus far) in a chain of unlawful acts that reaches back to, and

was enabled by, the Securities Contracts. This action was commenced on January 4, 2022 and it

is therefore timely.

III.       DARKPULSE’S STATE LAW CLAIMS ARE PLAUSIBLE20

           Defendants’ arguments against Plaintiff’s state claims lack no merit. First, as discussed in

detail above, the Complaint contains ample allegations that the Defendants have been unjustly

enriched through their violations of the Exchange Act and RICO. Equity disfavors allowing

Defendants to benefit from their unlawful acts—under Federal law—which occurred at Plaintiff’s

expense. See, e.g., Norman v. Salomon Smith Barney, Inc., 350 F. Supp.2d 382, 389 (S.D.N.Y.

2004) (discussing void ab initio contracts, concluding, that “restitution continues to be available



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     Defendants claim there is no diversity jurisdiction. MTD at 16-17. This was not asserted as a basis for jurisdiction.

                                                            23
as a remedy to a wronged party”) (citing Restatement (Second) Contracts § 198); McCall v.

Frampton, 81 A.D.2d 607, 608-09 (2d Dept. 1981) (“[W]here the agreement consists in part of an

unlawful objective and in part of lawful objectives, under certain circumstances the illegality may

be severed and the legal components enforced,” with the final resolution look towards “prevents

of unjust enrichment”). The authorities relied upon by Defendants, see MTD at 17, and the legal

theories supporting their conclusion, are entirely based on the existence of a valid and enforceable

contract—which does not exist in this case due to Defendants’ violations of federal securities laws

and New York’s usury laws. See Exchange Act at § 29(b); Adar Bays, 37 N.Y.3d at 323-24

(holding that loans found to be criminally usurious under NY Penal Law § 190.40 render the loan

contract void ab initio).

       Second, Defendants’ erroneously state that DarkPulse is requesting that “a constructive

trust be imposed on shares of corporation.” MTD at 18. Indeed, the Complaint alleges that

DarkPulse is seeking to have a constructive trust be imposed on all property that Defendants have

retained from their unlawful act. See Compl. at ¶ 158-163. See also id. at 33 (Prayer for Relief

on Count VI). Thus, the property may consist of cash—generated from Defendants’ unlawful debt

collection (via conversions) and securities transactions, and subsequent sale of the newly-issued

shares of DarkPulse common stock—and stock.

       That aside, the courts of New York and Delaware have both recognized claims for

constructive trust. See, e.g., Central Sch. Dist. No. 3 of Cortlandt v. Town of Cortlandt, 49 A.D.2d

899, 901 (2d Dept. 1975) (finding “equity requires us to declare a constructive trust” over

unlawfully obtained monies, even when certain claimants could not recover the illegally levied

taxes); Matter of Lazar v. Robinson Knife Mfg. Co., 262 A.D.2d 968, 969 (4th Dept. 1999)

(unanimously affirming denial of motion to dismiss constructive trust claim where plaintiffs



                                                24
alleged defendants had acted in an unlawful manner); Oliver v. Boston Univ., 2000 Del. Ch. LEXIS

104 (Del. Ch. July 18, 2000) (denying motion to dismiss constructive trust claim); Hendry v.

Hendry, 2006 DE Ch. LEXIS 99 (Del. Ch. May 26, 2006) (same).

       Finally, Defendants’ authority actually supports the constructive trust claim. See MTD at

18 (citing). DarkPulse has alleged that EMA is an unregistered dealer, engaged in the collection

of unlawful debts, i.e.,unconscionable conduct—acting in violation of federal law that easily

supports a claim for constructive trust. See, e.g., Central Sch. Dist. No. 3 of Cortlandt v. Town of

Cortlandt, 49 A.D.2d 899, 901 (2d Dept. 1975) (finding “equity requires us to declare a

constructive trust” over unlawfully obtained monies, even when certain claimants could not

recover the illegally levied taxes); Matter of Lazar v. Robinson Knife Mfg. Co., 262 A.D.2d 968,

969 (4th Dept. 1999) (unanimously affirming the trial court’s denial of the defendants’ motion to

dismiss plaintiffs’ claim for imposition of a constructive trust when plaintiffs’ alleged the

defendants acted in an unlawful manner); Hogg v. Walker, 622 A.2d 648, 652 (Del. 1993) (“When

one party, by virtue of fraudulent, unfair or unconscionable conduct, is enriched at the expense of

another to whom he or she owes some duty, a constructive trust will be imposed.”).

       Thus, Plaintiff’s state claims are sufficiently pled to withstand the Motion.

                                         CONCLUSION

        For all the foregoing reasons, Defendants’ Motion to Dismiss should be denied.




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DATED: July 13, 2022        Respectfully submitted,

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